                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TENNESSEE
                               NORTHERN DIVISION

BOB DeWITT and PEGGY DeWITT                               )
                                                          )
                       Plaintiffs,                        )
                                                          )
v.                                                        )     Case No. 3:11-CV-00393
                                                          )
SPARTA INSURANCE CO., and                                 )
ARTHUR J. GALLAGHER RISK                                  )
MANAGEMENT SERVICES, INC.,                                )
                                                          )
                       Defendants.                        )

                               STIPULATION OF DISMISSAL

       Pursuant to a settlement agreement between the parties, Plaintiffs Bob DeWitt and Peggy

DeWitt and Defendant SPARTA Insurance Co. hereby stipulate pursuant to Fed. R. Civ. Proc.

41(a)(1)(A)(ii) to a dismissal of all claims in this action, with prejudice, and with each party to

bear its own fees, expenses, and costs.

                                      Respectfully submitted,



                                      _s/Jay W. Mader (w/ permission)______________
                                      Jay W. Mader (BPR #016199)
                                      Thomas M. Cole (BPR #001053)
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                             _s/Russell E. Stair__________________________
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on October 17, 2011, I electronically filed the foregoing with the

clerk of court for the United States District Court, Eastern District of Tennessee, using the

electronic case filing system of the Court. The electronic case filing system sent a “Notice of

Electronic Filing” to all attorneys of record who have consented to accept service by electronic

means.



                                             _s/Russell E. Stair___________________




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